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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


SHAWN SIMON,

                              Petitioner,

v.                                                   CIVIL ACTION NO. 2:04-cv-001159
                                                     (Criminal No. 2:01-cr-00060-02)

UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER

       Pending before the court is the petitioner’s motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255 [Docket 655]. This action was referred to the Honorable Mary E.

Stanley, United States Magistrate Judge, for submission to this court of proposed findings and

recommendations pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted

findings of fact and recommends that the court deny the petitioner’s motion.

       Neither party has filed objections to the Magistrate Judge’s findings and recommendations.

       Accordingly, the court accepts and incorporates herein the findings of the Magistrate Judge

and DENIES the petitioner’s motion.

       The court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                             ENTER:          January 17, 2006
